 Case 4:01-cr-40017-JPG            Document 421 Filed 04/16/08                Page 1 of 1       Page ID
                                             #463


                                  UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                 Plaintiff,

         v.                                                   Case No. 01-cr-40017-JPG

 DEREK A WAITHE,

                 Defendant.

                                  MEMORANDUM AND ORDER

        This matter comes before the Court on Defendant Derek A. Waithe’s pro se Motion for Leave to

Appeal in Forma Pauperis (Doc. 419). Waithe appeals this Court’s denial of his pro se motion for

recusal. At the time Waithe filed his motion for recusal, the Court had entered final judgment and there

were no motions pending in the case. Therefore, the Court found there was nothing from which it could

recuse itself, and denied the motion as moot.

        A federal court may permit a party to proceed on appeal without full pre-payment of fees

provided the party is indigent and the appeal is taken in good faith. 28 U.S.C. § 1915(a)(3); Fed. R.

App. P. 24(a)(3). A frivolous appeal cannot be made in good faith. Lee v. Clinton, 209 F.3d 1025,

1026-27 (7th Cir. 2000). The test for determining if an appeal is in good faith or not frivolous is

whether any of the legal points are reasonably arguable on their merits. Neitzke v. Williams, 490 U.S.

319, 325 (1989) (citing Anders v. California, 386 U.S. 738 (1967)); Walker v. O’Brien, 216 F.3d 626,

632 (7th Cir. 2000).

        Waithe’s position that the Court should recuse itself from a closed case in which there are no

pending motions is patently unreasonable. Therefore, the Court CERTIFIES that this appeal is not

taken in good faith and accordingly DENIES the motion for leave to proceed on appeal in forma

pauperis (Doc. 419).

IT IS SO ORDERED.
DATED: April 16, 2008
                                                 s/ J. Phil Gilbert
                                                 J. PHIL GILBERT
                                                 DISTRICT JUDGE
